JS 44 (Rev, 08/16)

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 1 of 16

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by local rules o

Fcourt. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a)_ PLAINTIFFS

First State Insuranc:

(b) County of Resid

(c) Attorneys (Firm Name, Address,
Shipman & Goodwin LLP- James P.
K Street, N.W., Suite 600 Washington, DC 20006 (202) 469-7750; Mark
Ostrowski One Constitution Plaza Hartford, CT 06103 (860) 251-5634

DEFENDANTS
ACE PROPERTY & CASUALTY INSURANCE COMPANY, ET AL

(See attached list for complete list of Defendants

e Company

lence of First Listed Plaintiff | Hartford
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant _ Hartford
CIN U.S. PLAINTIFF CASES ONLY}

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

and p Be Number) Attorneys (if Known)

uggeri & Edward B. Parks, Hl 1875

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES ¢Piace an “Xx” in One Box for Plaintiff
{For Diversity Cases Only) and One Box for Defendant)

1) US. Government 3 Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State (1 CF 1 Incorporated or Principal Place a4 o4
of Business In This State

73 2 US. Goverment M4 Diversity Citizen of Another State Oo 2 mw 2 Incorporated and Principal Place m5 os

Defendant (Indicate Citizenship of Parties in lem HD of Business In Another State
Citizen or Subject ofa O 3 © 3 Foreign Nation a6 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Deseriptions.
I CONTRACT. TORTS FORFEELURE/PENALTY BANKRUPTCY OTHER STATUTES |

2% 110 Insurance

PERSONAL INJURY PERSONAL INJURY — [() 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act

o
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Q2390 a

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enforcement of Judgment

15} Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

153 Recovery of Overpayment
of Veteran's Benefits

160 Stockholders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

C310 Airplane

© 315 Airplane Product
Liability

(1 320 Assault, Libel &
Slander

( 330 Federal Employers’
Liability

0) 340 Marine

(1 345 Marine Product
Liability

© 350 Motor Vehicle

2} 355 Motor Vehicle
Product Liability

C1 360 Other Personal
Injury

© 362 Personal Injury -
Medical Malpractice

TF 365 Personal Injury -
Product Liability
J 367 Health Care/
Pharmaceutical
Personal Injury
Product Liability
CT 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
371 Truth in Lending
77 380 Other Personal
Property Damage
7 385 Property Damage
Product Liability

REAL PROPERTY.

CIVIL RIGHTS

CF 210 Land Condemnation

(J 220 Foreclosure

CI 230 Rent Lease & Ejectment
C} 240 Torts to Land

(J 245 Tort Product Liability
(3 290 All Other Real Property

(1 440 Other Civil Rights

441 Voting

T 442 Employment

& 443 Housing/
Accommodations

T 445 Amer. w/Disabilities -
Employment

(J 446 Amer. w/Disabilities -
Other

( 448 Education

Habeas Corpus:

463 Alien Detainee

510 Motions to Vacate
Sentence

330 General

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

of Property 21 USC 881
7 690 Other

&F 423 Withdrawal
28 USC 157

PROPERTY RIGHTS

820 Copyrights
830 Patent
840 Trademark

LABOR

SOCIAL SECURITY

PRISONER PETITIONS

( 710 Fair Labor Standards
Act

0 720 Labor/Management
Relations

M1 740 Railway Labor Act

© 751 Family and Medical
Leave Act

© 790 Other Labor Litigation

© 791 Employee Retirement
Income Security Act

IMMIGRATION

(J 462 Naturalization Application

© 465 Other Immigration
Actions

861 HIA (1395ff)

862 Black Lung (923)

863 DIWC/DIWW (405(g))
864 SSID Title XVI

M7 865 RSI (405(2)

FEDERAL TAX. SUITS

870 Taxes (U.S. Plaintiff
or Defendant)

871 IRS-Third Party
26 USC 7609

Q099 O80 Ouuooo 32

ad

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

480 Consumer Credit

490 Cable/Sat TV

850 Securities‘Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X” in One Box Only}

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specifiy) Transfer Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. § 2201

Brief description of cause: oo, .

Claims for insurance coverage under certain liability insurance policies issued by First State, et al.

VII. REQUESTED IN () CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P, JURY DEMAND: Moyes  CINo
VIII. RELATED CASE(S) See instructions)
IF ANY lt é ons): JUDGE DOCKET NUMBER

DAT l | SIGNATURE OF ATTORNEY OF RECORD

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FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 2 of 16

_ Defendants

ACE Property & Casualty Insurance Company,

American Home Assurance Company,

Columbia Casualty Company,

Continental Insurance Company (successor-in-interest to Harbor Insurance Company),
Federal Insurance Company,

Fireman’s Fund Insurance Company,

Granite State Insurance Company,

Insurance Company of the State of Pennsylvania,

Swiss Reinsurance America Company (successor-in-interest to Forum Insurance Company)

Ferguson Enterprises, Inc.

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 3 of 16

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

FIRST STATE INSURANCE COMPANY,

Plaintiff,
V.
FERGUSON ENTERPRISES, INC. (successor- CIVIL ACTION NO.
in-interest to Familian Corporation), ACE
PROPERTY AND CASUALTY INSURANCE
COMPANY, AMERICAN HOME
ASSURANCE COMPANY, COLUMBIA
CASUALTY COMPANY, CONTINENTAL
INSURANCE COMPANY (successor-in-interest
to Harbor Insurance Company), FEDERAL
INSURANCE COMPANY, FIREMAN’S
FUND INSURANCE COMPANY, GRANITE
STATE INSURANCE COMPANY,
INSURANCE COMPANY OF THE STATE OF
PENNSYLVANIA, SWISS REINSURANCE
AMERICA COMPANY (successor-in-interest to
Forum Insurance Company), and DOE
INSURERS 1| through 10,

NOVEMBER 4, 2016

Defendants.

Nee Samme! Seanete Saget! Smut! mage Saag! Swat! Sauget Nate Saget! get! amauta! Snag! Smagt! Sastt! Scant! eiggetl Sagat! att! Snare! naa! mage Segal!

COMPLAINT FOR DECLARATORY RELIEF

Plaintiff First State Insurance Company (“First State”) for its Complaint for Declaratory
Judgment against Defendants ACE Property & Casualty Insurance Company, American Home
Assurance Company, Columbia Casualty Company, Continental Insurance Company (successor-
in-interest to Harbor Insurance Company), Federal Insurance Company, Fireman’s Fund
Insurance Company, Granite State Insurance Company, Insurance Company of the State of
Pennsylvania, Swiss Reinsurance America Company (successor-in-interest to Forum Insurance
Company) (collectively, the “Defendant Insurers”), and Ferguson Enterprises, Inc. (“Ferguson”),

alleges the following:
Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 4 of 16

NATURE OF THE ACTION

1. This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201, relating
to claims for insurance coverage by Ferguson under certain liability insurance policies issued by
First State and the Defendant Insurers and/or the Doe Insurers to Familian Corporation and/or its
alleged predecessors or successors (“Familian”), including but not limited to Familian
Northwest, Inc., for certain bodily injury claims relating to asbestos-containing products
allegedly distributed or sold by Familian or its alleged predecessors or successors (the
“Underlying Lawsuits”).

2. Through a series of corporate transactions, Ferguson asserts that it is the successor
by merger to Familian.

3. Hundreds of Underlying Lawsuits have been filed against Ferguson and/or its
alleged predecessors as the successors to Familian.

4, Ferguson alleges entitlement to coverage for the Underlying Lawsuits under
liability insurance policies issued by First State and the Defendant Insurers to Familian and/or its
alleged predecessors or successors (the “Policies”), and has sought coverage from First State and
the Defendant Insurers for the Underlying Lawsuits. Additionally, the Doe Insurers may have
issued policies to Ferguson that may provide coverage for the Underlying Lawsuits.

5. Since at least 2003, First State and certain of the Defendant Insurers have been
participating in the defense and indemnification of Ferguson in connection with the Underlying
Lawsuits. However, certain of the participating Defendant Insurers have refused to pay their fair
share of past costs in connection with the Underlying Lawsuits. Other Defendant Insurers have

refused to participate in the defense and/or indemnification of Ferguson at all.

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 5 of 16

6. First State seeks a declaration regarding the parties’ respective rights and
obligations with respect to the Underlying Lawsuits. In addition, to the extent that it has paid or
is later required to pay more than its appropriate share of the defense and/or indemnity costs
incurred in connection with the Underlying Lawsuits, First State seeks equitable contribution
from one or more of the Defendant Insurers and/or the Doe Insurers, and/or to be equitably
subrogated to Ferguson’s rights to recover from one or more of the Defendant Insurers and/or the
Doe Insurers.

7. Actual controversies exist between the parties necessitating declarations regarding
the parties’ respective rights and obligations for the Underlying Lawsuits.

THE PARTIES

8. First State is incorporated under the laws of the State of Connecticut with its
principal place of business in the State of Connecticut.

9. On information and belief, Ferguson is a corporation incorporated under the laws
of the State of Delaware with its principal place of business in the Commonwealth of Virginia.
On information and belief, Ferguson is authorized to transact and does transact business in the
State of Connecticut.

10. On information and belief, ACE Property & Casualty Insurance Company
(“ACE”) is a corporation incorporated under the laws of the State of Pennsylvania with its

_principal place of business in Pennsylvania. On information and belief, ACE is authorized to
transact and does transact business in the State of Connecticut.

11. On information and belief, American Home Assurance Company (“American

Home”) is a corporation incorporated under the laws of the State of New York with its principal

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 6 of 16

place of business in the State of New York. On information and belief, American Home is
authorized to transact and does transact business in the State of Connecticut.

12. On information and belief, Columbia Casualty Company (“Columbia”) is a
corporation incorporated under the laws of Delaware with its principal place of business in the
State of Illinois. On information and belief, Columbia is authorized to transact and does transact
business in the State of Connecticut.

13. On information and belief, Continental Insurance Company as successor-in-
interest to Harbor Insurance Company (“Harbor”) is a corporation incorporated under the laws of
the State of Pennsylvania with its principal place of business in the State of Illinois. On
information and belief, Harbor is authorized to transact and does transact business in the State of
Connecticut.

14. On information and belief, Federal Insurance Company (“Federal”) is a
corporation incorporated under the laws of the State of Indiana with its principal place of
business in the State of New Jersey. On information and belief, Federal is authorized to transact
and does transact business in the State of Connecticut.

15. On information and belief, Fireman’s Fund Insurance Company (“Fireman’s
Fund”) is a corporation incorporated under the laws of the State of California with its principal
place of business in the State of California. On information and belief, Fireman’s Fund is
authorized to transact and does transact business in the State of Connecticut.

16. On information and belief, Granite State Insurance Company (“Granite State”) is
a corporation incorporated under the laws of the State of Pennsylvania with its principal place of
business in the State of New York. On information and belief, Granite State is authorized to

transact and does transact business in the State of Connecticut.

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 7 of 16

17. On information and belief, Insurance Company of the State of Pennsylvania
(“ICSOP”) is a corporation incorporated under the laws of the State of Pennsylvania with its
principal place of business in the State of New York. On information and belief, Insurance
Company of PA is authorized to transact and does transact business in the State of Connecticut.

18. On information and belief, Swiss Reinsurance America Company (successor-in-
interest to Forum Insurance Company) (“Swiss Re”) is a corporation incorporated under the laws
of the State of New York with its principal place of business in the State of New York. On
information and belief, Swiss Re is authorized to transact and does transact business in the State
of Connecticut.

19. On information and belief, Doe Insurers 1 through 10 include additional insurance
companies not specifically named herein which may have coverage obligations for the
Underlying Lawsuits under policies issued to Familian. The true names and capacities, whether
individual, corporate, or otherwise, of Doe Insurers | through 10 are unknown to First State at
the present time and these Defendants are therefore sued by such fictitious names. When the true
names and capacities of the Doe Insurers have been ascertained, First State will seek to amend

this Complaint to include such true names and capacities.

JURISDICTION AND VENUE

20. The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332. The
amount in controversy for each defendant exceeds $75,000, exclusive of interest and costs.
21. Venue is proper in this District pursuant to 28 U.S.C. § 1391(a) as, on information

and belief, each defendant has transacted and continues to transact business in this District.

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 8 of 16

FACTUAL ALLEGATIONS

THE INSURANCE POLICIES

22. On information and belief, the applicable limits of all available primary insurance
coverage issued to Familian or its alleged predecessors or successors is exhausted for the
Underlying Lawsuits.

23. On information and belief, the Defendant Insurers and/or the Doe Insurers issued
umbrella and/or excess liability insurance policies to Familian or its alleged predecessors or
successors that Ferguson alleges provide coverage to Ferguson for the Underlying Lawsuits.

24. On information and belief, ACE issued certain umbrella and/or excess policies to
Familian that Ferguson alleges provide coverage to Ferguson for the Underlying Lawsuits,
including but not limited to policies covering the policy periods March 5, 1979 to April 1, 1980,
April 1, 1980 to April 1, 1981, and April 1, 1984 to December 18, 1984.

25. On information and belief, American Home issued certain umbrella and/or excess
policies to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying
Lawsuits, including but not limited to policies covering the policy period March 5, 1974 to
March 15, 1977.

26. On information and belief, Columbia issued certain umbrella and/or excess
policies to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying
Lawsuits, including but not limited to policies covering the policy period March 15, 1978 to
March 15, 1979.

27. On information and belief, Federal issued certain umbrella and/or excess policies
to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying Lawsuits,

including but not limited to policies covering the policy period April 1, 1981 to April 1, 1982.

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 9 of 16

28. On information and belief, Fireman’s Fund issued certain umbrella and/or excess
policies to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying
Lawsuits, including but not limited to policies covering the policy periods April 1, 1982 to April
1, 1983 and April 1, 1983 to April 1, 1984.

29. On information and belief, Swiss Re issued certain umbrella and/or excess
policies to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying
Lawsuits, including but not limited to policies covering the policy period December 18, 1984 to
April 1, 1986.

30. On information and belief, Granite State issued certain umbrella and/or excess
policies to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying
Lawsuits, including but not limited to policies covering the policy period April 1, 1985 to April
1, 1986.

31. On information and belief, Harbor issued certain umbrella and/or excess policies
to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying Lawsuits,
including but not limited to policies covering the policy period March 15, 1978 to March 15,
1979.

32. On information and belief, ICSOP issued certain umbrella and/or excess policies
to Familian that Ferguson alleges provide coverage to Ferguson for the Underlying Lawsuits,
including but not limited to policies covering the policy period March 15, 1977 to March 15,
1978.

33. On information and belief, the Doe Insurers may have issued policies to Familian

that may provide coverage for the Underlying Lawsuits. When the true names and capacities of

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 10 of 16

the Doe Insurers have been ascertained, First State will seek to amend this Complaint to include
such true names and capacities.

34. First State issued the following umbrella and/or excess policies to Familian that
Ferguson alleges provide coverage to Ferguson for the Underlying Lawsuits: Policy No. 924478
(Policy Period March 23, 1977 to March 15, 1978), Policy No. 909537 (Policy Period March 15,
1978 to March 15, 1979), Policy No. 686792 (Policy Period April 1, 1981 to April 1, 1982),
Policy No. 951240 (Policy Period April 1, 1982 to April 1, 1983), Policy No. 953803 (Policy
Period April 1, 1983 to April 1, 1984), Policy No. 955231 (Policy Period April 1, 1984 to
December 18, 1984), and Policy No. EU 002664 (Policy Period April 1, 1985 to April 1, 1986).

35. The applicable limits of First State’s Policy No. 909537 are exhausted.

FACTUAL BACKGROUND

36. On information and belief, Familian is a pipe and supply distributor for the
plumbing and contractor industries that from the 1950s through the 1970s supplied certain
products that allegedly contained asbestos.

37. Through a series of corporate transactions, Ferguson asserts that it is the successor
by merger to Familian.

38. On information and belief, since at least 1997, Ferguson or its alleged
predecessors have been named as a defendant in hundreds of Underlying Lawsuits.

39. On information and belief, the underlying claimants allege, inter alia, that
Ferguson or its alleged predecessors are liable for bodily injuries allegedly caused by products
sold by Familian that allegedly contained asbestos, in particular vent and flue pipe.

40. On information and belief, Ferguson and its predecessors tendered the Underlying

Lawsuits to its primary insurers until approximately 2002, when its primary insurers asserted that

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 11 of 16

they no longer had any coverage obligations to Ferguson or its predecessors for the Underlying
Lawsuits under their primary policies because their primary policies had been exhausted.

41. | On or about October 11, 2002, Ferguson sought coverage for its defense and
indemnity costs from First State. First State agreed to contribute to the defense and settlement of
the Underlying Lawsuits, subject to a full reservation of rights, including the right to seek
reimbursement or contribution from Ferguson and any other insurer, including the Defendant
Insurers and/or the Doe Insurers.

42. Since then, First State has paid and continues to pay a share of Ferguson’s defense
and indemnity costs incurred in connection with the Underlying Lawsuits under the First State
Policies. To date, First State has paid substantial amounts for Ferguson’s defense and indemnity
in connection with the Underlying Lawsuits.

43. | American Home, ICSOP, ACE, and Swiss Re also have participated in the
defense and settlement of the Underlying Lawsuits under some or all of their respective policies,
but on information and belief have paid less than their respective allocable shares.

44, —_ Until recently, American Home participated in the defense and indemnification of
Familian under a cost-share percentage that it negotiated with the participating insurers on the
basis that it had provided coverage to Familian under a policy in effect from March 5, 1976
through March 15, 1977, On information and belief, however, this American Home policy was
actually in effect from March 5, 1974 through March 15, 1977.

45. To date, First State has not been provided with a full copy of the American Home

policy.

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 12 of 16

46. Asaresult, for several years First State paid more than, its appropriate share of
defense and indemnity costs and the other participating insurers paid less than their appropriate
shares.

47, _ First State also is currently paying more than its appropriate share of defense and
indemnity costs because, on information and belief, Columbia issued an excess insurance policy
to Familian but Columbia has refused to participate in the defense and/or indemnification of
Ferguson in connection with the Underlying Lawsuits, even though the primary and umbrella
policies underlying its policy are exhausted.

FIRST CLAIM FOR RELIEF
Declaration of Coverage - Duty To Defend or To Pay Defense Costs

48. First State repeats and realleges Paragraphs | through 47 as if fully set forth here.
49, First State seeks a judicial determination as to whether and, if so, to what extent
First State and the other Defendant Insurers and/or the Doe Insurers are obligated under their
respective policies to defend Ferguson or to reimburse it for defense costs incurred in connection
with the Underlying Lawsuits.

SECOND CLAIM FOR RELIEF
Declaration of Coverage - Duty To Indemnify or To Pay Indemnity Costs

50. First State repeats and realleges Paragraphs | through 49 as if fully set forth here.

51. First State seeks a judicial determination as to whether and, if so, to what extent
First State and the other Defendant Insurers and/or the Doe Insurers are obligated under their
respective policies to indemnify Ferguson or to reimburse it for indemnity costs incurred in

connection with the Underlying Lawsuits.

THIRD CLAIM FOR RELIEF
Allocation of Defense Costs

52. First State repeats and realleges Paragraphs 1 through 50 as if fully set forth here.

10

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 13 of 16

53. If First State and the other Defendant Insurers and/or the Doe Insurers are found
to have obligations for defense costs incurred in connection with the Underlying Lawsuits, then
First State seeks a judicial declaration of First State’s and the other Defendant Insurers’ and/or
the Doe Insurers’ respective allocable shares, if any, of the past and/or future defense costs
incurred in the Underlying Lawsuits.

FOURTH CLAIM FOR RELIEF
Allocation of Indemnity Costs

54. First State repeats and realleges Paragraphs | through 53 as if fully set forth here.

55. If First State and the other Defendant Insurers and/or the Doe Insurers are found
to have obligations for indemnity costs incurred in connection with the Underlying Lawsuits,
then First State seeks a judicial declaration of First State’s and the other Defendant Insurers’
and/or the Doe Insurers’ respective allocable shares, if any, of the past and/or future indemnity
costs incurred in the Underlying Lawsuits.

FIFTH CLAIM FOR RELIEF
Equitable Contribution (or other similar relief)

56. First State repeats and realleges Paragraphs | through 55 as if fully set forth here.

57. If First State is found to have obligations to defend and/or indemnify Ferguson in
connection with the Underlying Lawsuits and it has paid, or in the future is required to pay, more
than its appropriate share of defense or indemnity costs incurred on account of Underlying
Lawsuits, then First State seeks equitable contribution from the other Defendant Insurers and/or
the Doe Insurers.

58. Subject to their terms, conditions, limits, and exclusions, the Defendant Insurers’

and/or the Doe Insurers’ policies potentially provide coverage to Ferguson for their respective

11

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 14 of 16

shares of defense costs, settlements, and/or judgments entered in some or all of the Underlying
Lawsuits.

59. First State has paid (and in the future may pay) amounts in excess of its
appropriate share of defense and indemnity costs incurred in connection with the Underlying
Lawsuits.

60. Certain of the Defendant Insurers have refused, and continue to refuse, to pay or
reimburse First State.

61. — First State is entitled to reimbursement from Defendant Insurers and/or the Doe
Insurers for their appropriate share of the above-described defense and indemnity payments as
well as Defendant Insurers’ and/or the Doe Insurers’ potential future obligations pursuant to the
applicable principles of contribution.

SIXTH CLAIM FOR RELIEF
Equitable Subrogation

62. First State repeats and realleges Paragraphs | through 61 as if fully set forth here.

63. First State has paid (and in the future may pay) amounts in excess of its
appropriate share of defense and indemnity costs, if any, incurred in connection with the
Underlying Lawsuits. First State made its payments to protect its own interests (and as
demanded by Ferguson) and not as a volunteer.

64. The amount First State has paid included costs for which certain of the Defendant
Insurers and/or the Doe Insurers were obligated under their respective policies to pay on behalf
of Ferguson in connection with the Underlying Lawsuits.

65. Certain of the Defendant Insurers have benefited in that they have refused, and
continue to refuse, to contribute to the defense and indemnity costs incurred in connection with

the Underlying Lawsuits.

12

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 15 of 16

66. — First State has been damaged as a result of certain of the Defendant Insurers’
refusal to contribute to the defense and indemnity costs incurred in connection with the
Underlying Lawsuits in that it has paid amounts that should have been paid by certain of the
Defendant Insurers.

67. First State is therefore equitably subrogated to Ferguson’s rights against certain of
the Defendant Insurers and/or the Doe Insurers to recover the above-described defense and
indemnity amounts owed by certain Defendant Insurers and/or Doe Insurers.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff First State Insurance Company prays that the Court enter the
following relief:

A. A judicial determination as to whether and, if so, to what extent the parties
are obligated under the Policies to defend Ferguson or to reimburse it for
defense costs incurred in the Underlying Lawsuits;

B. A judicial determination as to whether and, if so, to what extent the parties
are obligated under the Policies to indemnity Ferguson or to reimburse it
for indemnification costs incurred in the Underlying Lawsuits;

C. To the extent that First State and the other Defendant Insurers and/or the
Doe Insurers are found to have obligations for defense and/or indemnity
costs incurred in connection with the Underlying Lawsuits, First State
seeks a judicial determination of First State and the other Defendant
Insurers’ and/or the Doe Insurers’ respective allocable shares, if any, of

the defense and/or indemnity costs incurred in the Underlying Lawsuits;

13

Case 3:16-cv-01822-VAB Document1 Filed 11/04/16 Page 16 of 16

D. To the extent First State has paid, or in the future is required to pay, more
than its appropriate share of defense or indemnity costs on account of
Underlying Lawsuits, First State seeks equitable contribution from the
Defendant Insurers and/or the Doe Insurers in an amount equal to those
costs allocable to those respective parties;

E. To the extent First State paid, or in the future is required to pay, more than
its appropriate share of defense or indemnity costs on account of
Underlying Lawsuits, a determination that it is equitably subrogated to
Ferguson’s rights to recover from the Defendant Insurers and/or the Doe
Insurers an amount equal to those costs allocable to those respective
parties;

F. Fair, just, and reasonable damages;

G. Any other relief that is equitable, just, and proper,

JURY DEMAND

First State demands trial by jury of all factual issues and causes of action raised by this

Complaint.
Respectfully submitted,
Of counsel: /s/ Mark K. Ostrowski
Mark K. Ostrowski (Fed. Bar. No. ct03378)
James P. Ruggeri SHIPMAN & GOODWIN LLP
Edward B. Parks, II One Constitution Plaza
SHIPMAN & GOODWIN, LLP Hartford, Connecticut 06103
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jruggeri@goodwin.com
eparks@goodwin.com Attorneys for First State Insurance Company

14

